70 F.3d 1263
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Tyrone BAUSLEY, Defendant-Appellant.
    No. 95-6952.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  November 16, 1995.Decided:  December 5, 1995.
    
      Tyrone Bausley, Appellant Pro Se.  Michael Lee Keller, Office of The United States Attorney, Charleston, WV, for Appellee.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Bausley, Nos.  CR-93-181;  CA-94-1019-5 (S.D.W.Va. May 24, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    